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lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF AN APPLICATION Case No.
FOR CRTMINAL COMPLAINT FOR

l\/IARIIA BUTINA, ALSO KNOWN AS

MARIA BUTINA

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A CRIl\f[INAL COIV[PLAINT

I, Kevin Helson, being first duly sworn, hereby depose and state that I am a Special Agent

with the Federal Bureau of lnvestigation (FB]) and charge as follows:
THE FBI INVESTIGATION

l. The bases of my knowledge for the facts alleged herein are as follows. I have been a
Special Agent with the FBI for 15 years. Currently, I am assigned to the Counterintelligence
Division within the Washington Field Office of the FBI. The focus of my counter intelligence
efforts has been the investigation of the foreign intelligence activities of the Ru_ssian Federation. I
have learned the facts contained in this affidavit from, among other sources, my personal
participation in this investigation, my discussions With other law enforcement agents, searches that
have been conducted, surveillance that has been conducted, and reviews of documents, electronic
items, and other- evidentiary materials. _

2. In the course of this investigation, the FBI has employed a variety of lawful
investigative methods, including the acquisition of Rule 41 search warrants of two premises, which
included authorization to search electronic devices. ()ne of those searches included a laptop
computer belonging to MARIIA BUTLNA, afkfa “Maria Butina” (“BUTINA”), '(hereinafter
“BUTINA’s Laptop”) and an iPhone belonging to BUTINA (hereinafter-“BUTINA’s iPhone”).
Because this affidavit is being submitted for the limited purpose of establishing probable cause, it

does not include every fact thatl have learned during the course of this investigation. Further, any

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statements related herein are related in substance and in part only. Finally, certain items related
herein were translated by FBl linguists from Russian to English.
BACKGROUND
Title 18, U.S. Code, sections 371 (Conspiracy) and 951 (Agents of Foreign Governments)

3. 'l`itle 18 of the United States Code, section 3?l (Conspiracy to Commit Offense or to
Defraud United States), makes it a criminal offense -for any person(s) to conspire together with one
or more others either to commit an offense against the United States or to defraud the United States,
or any agency thereof, in any manner or for any purpose.

4. Title 18 of the United States Code, section 951 (Agents of Foreign Governments),
makes it a criminal offense for any person, other than a diplomatic or consular official or attaché,
to act in the United States as an agent of a foreign government without prior notification to the
Attomey General, as required by law. For purposes of this law, the term “agent of a foreign
government” includes an individual Who agrees to operate within the United States subject to the
direction or control of a foreign government or official.

Relevant Persons and Definitions

5. Defendant BUTINA is a Russian citizen who entered the United States in August 2016
on an F-l Student Visa. Before and after her arrival in the United States, BUTINA served as
Special Assistant to the RUSSIAN OFFICIAL. Conspiring together, BUTINA and the RUSSlAN
OPFICIAL took various overt acts in furtherance of the conspiracy and to effect the illegal purpose
thereof

6. Thc RUSSLAN OFFlCIAL is a Russian citizen and a high-level official in the Russian
government The RUSSIAN OFFICIAL was previously a member of` the legislature of the Russian
Federation and later became a top official at the Russian Central Bank. The RUSSIAN OFFICIAL

directed BUTINA’s activities in furtherance of the conspiracy

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7. U.S. Person l is a United States citizen and an American political operative BUTINA
established contact with U.S. Person 1 in Moscow in or around 2013. U.S. Person l worked with
BUT]NA to jointly arrange introductions to U.S. persons having influence in American politics,
including an organization promoting gun rights (hereinafter “GUN RlGHTS ORGANIZATION”),
for the purpose of advancing the agenda of the Russian Federation.

8. U.S. Person 2 is a United States citizen who Was included among the participants in
a series of nemail communications in 2016 and 2017 that reveal BUTINA’s efforts to arrange a
series of dinners in the District of Columbia and New York City involving Russian nationals and
U.S. persons having infiuence in American politics (hereinafter “friendship and dialogue
dinners”). BUTINA told U .S. Person 2 that the RUSSIAN OFFICIAL was “very much impressed
by you” and that “the Russians will support the efforts from our side.”

9. The Ministry of Foreign Affairs of the Russian Federation (MFA) is the Russian 1
government agency with primary responsibility for the Russian Federation’ s foreign relations and
foreign policy.

Actions of the Russian Federation

10. The Russian Federation, or Russia, is one of the leading state intelligence threats to
U.S. interests, based on its capabilities, intent, and broad operational scope. Penetrating the U.S.
national decision-making apparatus and the Intelligence Community are primary objectives for
numerous foreign intelligence entities, including Russia. The objective of the Russian cheration
leadership is to expand its sphere of influence and strength, and it targets the United States and
U.S. allies to fi.lrther that goal.

11. Russian influence operations are a threat to U.S. interests as they are iow-cost,
relatively low-risk, and deniable ways to shape foreign perceptions and to infiuenee populations.

Moscow seeks to create wedges that reduce trust and confidence in democratic processcs, degrade

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democratization efforts weaken U.S. partnerships with European allies, undermine Western
sanctions, encourage anti~U.S. political views, and counter efforts to bring Ukraine and other
former Soviet states into European institutions

12. In 2018, pursuant to Executive Order 13661, the U.S. Department of the Treasury’s
Office of Foreign Assets Control (OFAC), in consultation with the U.S. Department of State, listed
seven Russian oligarchs and 12 companies they own or control, 1? senior Russian government
officials including the RUSSIAN OFFICIAL, and a state-owned Russian weapons trading
company and its subsidiary, a Russian bank, as specially designated nationals OFAC sanctioned
the RUSS]AN OFFICLAL for being an Offieial of the Govemment of the Russian Federation. In
sanctioning these entities, U.S. Treasury Secretary Steven T. Mnuchin announced:

The Russian government engages in a range of malign activity around the

globe, including continuing to occupy Crimea and instigate violence in

eastern Ukraine, supplying the Assad regime with material and weaponry

as they bomb their own civilians, attempting to subvert Wcstem

democracies, and malicious cyber activities Russian oligarchs and elites

who profit from this corrupt system will no longer be insulated from the

consequences of their govemment’s destabilizing activities

THE DEFENDANT’S ACTIVITIE_S ON BEHALF OF RUSSIA

13. As detailed below, the FBI’s investigation has revealed that BUTINA, the defendant,
was working in the United States at the direction of the RUSSIAN OFFICIAL.

14. The FBI’s investigation has further revealed that BUTINA and the RUSSIAN d
OFFICIAL took steps to develop relationships with American politicians in order to establish
private, or as she called them, “back channel"’ lines of communication Thesc lines could be used
by the Russian Federation to penetrate the U.S. national decision-making apparatus to advance the

agenda of the Russian Federation.

15. The FBI’s investigation has also revealed that BUTTNA and the RUSSlAN

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OFFICIAL planned to advance Moscow’s long-term strategic objectives in the United States, in
part, by establishing relationships with American political organizations including the GUN
RIGHTS ORGANlZATION. Based on my training, experience and familiarity with this
investigation, 1 believe that BUTINA and the RUSSlAN OFFICIAL took these steps in order to
infiltrate those groups and advance the interests of the Russian Federation.

16. The Russian influence operation included, among other things, (i) taskings from the
RUSSIAN OFF]CIAL to BUTINA; (ii) meetings between BUTINA and U.S. politicians and
political eandidates; (iii) BUTINA’s attendance at events sponsored by special interest groups,
also attended by U.S. politicians and political candidates; and-(iv) BUTINA’s reporting back to
Moscow through the RUSSLAN OFFICIAL the results of the various encounters with the U.S.
politicians and political candidates

Laying the Groundwork in Russia

l'?. During the course of her work as a covert Ru_ssian agent, BUT[NA regularly met and
communicated with the RUSSIAN OFFICIAL and U.S. Person 1 to plan and develop the contours
of the influence operation.

18. On or about March 24, 2015, BUTINA emailed U.S. Person 1 with the subject line
of “The Second Pozner.”‘ The body of this email also contained a project proposal. BUTINA
noted to U.S. Person l in the email that she was sending the “Google Translator text. Maybe I
could translate it myself but it would take at least a day because the text is very specific.” She
went on to note that she “will be happy to answer to any your questions [sic] and follow your
recommendations before a [sie] finally send it.” The first line of the proposal reads, “Project

Description ‘Diplomacy.”’ lt goes on to state that a major U.S. political party [hereinafter

 

‘ l believe that this statement likely refers to Vladimir Pozner, a propagandist who served in
the disinformation department of the Soviet KGB and who often appeared on Western television
to explain the views of the Soviet Union during the Cold War.

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“POLITICAL PARTY 1”], would likely obtain control over the U.S. government after the 2016
elections; that POL]TICAL PARTY 1 is “traditionally associated with negative and aggressive
foreign policy, particularly with regards to Russia. However, now with the right to negotiate seems
best to build konstruktivnyh [sic] relations;” and that “[c]entral place and influence in the
[POLITICAL PART_Y l] plays the [GUN RIGHTS ORGANIZATION]. The [GUN RIGHTS
ORGANIZATION] [is] the largest sponsor of the elections to the US congress as well as a sponsor
of The CPAC conference and other events.”

19. The Mareh 24, 2015 email further highlighted BUTINA’s relationship with the GUN
R]GHTS ORGANIZATION’s leadership, including her attendance at events in the United States
and BUTI`NA’s and the RUSSIAN OFFICIAL’s connections to officials of the GUN RIGHTS
ORGANIZATION. BUTINA described recent visits to the United States, including references to
instances when she was introduced to POLITICAL PARTY 1 leaders as a “representative of
informal diplomacy” of the Russian Federation. BUTINA’s project proposal concluded by noting,

_“[t]he resulting status needs to be strengthened is in the current time interval, before the
presidential election in 2016,” and requesting a budget of $125,000 for BUTINA to participate in
“all upcoming major eonferences” of POLITICAL PARTY 1.

20. ln late March 2015, U.S. Person l replied to BUTINA via email with the subject

“Potentiai Arnerican Contacts”:
Dear Maria,

=1¢$>1¢

Your challenge in your “special project” will be to balance two opposing
imperatives: Your desire to communicate that you speak for Russian
interests that will be ascendant (still around) in a post-Putin world while
simultaneously doing nothing to criticize the President or speed the arrival
of his successor

This restriction is easily understood in private meetings with political and
business leaders lt will SEVERELY limit your interactions with media.

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Most of the potential “guest appearances” listed under media will only be
possible if you’re willing to be more candid (honest) than is politically

b prudent for you. But ALL of the media personalities listed would be
interested in meeting you “off the recor ” _ though your patrons f sponsors
may not fully understand the power of such meetings if you do not appear
On television, radio, or print as you do in Russia.

=1¢*$

[T]here is NO limit as to how many American companies that you can
meet_at the highest levels_if you are able to represent that you are a
potential line of communication into future Russian Federation
govemrnents. '

ln this email, U.S. Person 1 listed potential media, business and political contacts and closed with,
“Everyone on this list understands (to some degree) U.S. f Russian relations under President
Obama and President Putin. Everyone on this list would like to better understand U.S. f Russian
relations under new presidents for each country. YOU can provide commentary on both_
if you’re willing to take that risk.”

21. Also in late March 2015, U.S. Person 1 emailed BUTINA, with the subject line
“Your Plan Forward.” In this email, U.S. Person 1 told BUT]NA that

If you were to sit down with your special hiends and make a list of ALL the
most important contacts you could find in America for a time when the
political situation between the U.S. and Russia will chan ge, you could NOT
do better than the list that l just emailed you. NO one - certainly not the
“official” Russian Federation public relations representative in New Y`ork -
could build a better list. And for a variety of current political reasons the
current Russian ambassadors to the United States and United Nations do not
even try.

YOU HAVE ALREADY MET ALL. OF THE AMERICANS necessary to
introduce you to EVERYONE on that list. . . . '

lf you had NOT spent the last year attending conferences in America, it
would take you ANOTIIER year to be able to meet the names on that list.
What you have done is prepare all of the groundwork (necessary
introductions) in order to be introduced to everyone on that list. All that is
needed is for your friends to provide you with the financial resources to
spend the time in America to TAKE ALL OF TI~lESE MEETIN GS. l and
your friends in Ameriea can’t make it any easier for you than that.

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Your potential sponsors either understand this or they don’t. The names of
all of the people that impress your friends by listing them. All that your
friends need to know is that meetings with the names on MY list would not
be possible without the unknown names in your “business card” notebook.
Keep them focused on who you are NOW able to meet, NOT the people
you have ALREADY met.

22. Your affiant has reviewed a number of .pdf documents stored in BUTINA’s
Laptop containing Twitter direct messages between BUTI`NA and the RUSSIAN OFFIClAL that
reflect direction and coordination of BUTlNA’s efforts by the RUSSlAN OFFICIAL. The direct
messages between BUTINA and the RUSSIAN OFFICIAL in the latter half of 2015 include:

¢ A conversation between the RUSSIAN OFFlClAL and BUT]NA regarding
an article published by BUTINA in The National Interest on or about June
12, 2015, which argued that certain U.S. politicians and Russians share
many common interests BUTINA asked the RUSSIAN OFFICIAL to look
at the article, and the RUSSIAN OFFICIAL said it was very good;

¢ A request by the RUSS[AN OFFICIAL for BUTINA to “write [him]
something brief’ about a political event in the United States which she was
scheduled to attend. BUTINA provided that write-up the next day, which
included descriptions of her speaking to a political candidate on the night of
the announcement as well as BUTINA’s previous private meeting with the
candidate at the 2015 annual GUN RIGHTS ORGANIZATION members’
meeting;

0 Discussions about the RUSSIAN OFFICIAL’s anticipated attendance at a

National Prayer Breakfast (including whether he had received approval to

attend from the MFA), and providing the RUSSlAN OFFICIAL with

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biographies of U.S. politicians and executives of the GUN RlGI-ITS
ORGANIZATION;

0 Discussions about the RUSSIAN OFFICIAL’s plans to meet with a U.S.
Congressman during a Congressional Delegation trip to Moscow in Au gust
2015. ln that conversation, BUTINA noted that she has the RUSSIAN
OFFICIAL’s diplomatic passport and can purchase a plane ticket for him
from St. Petersburg to Moscow; and

0 A statement from BUTINA to the RUSSIAN OFFICIAL that the latter “has
the responsibility of a serious mission - restoration of relations between
countries.” BUTINA continued by saying that this is a long game and that
“maybe, by inviting the [GUN RIGl-ITS ORGANIZATION] here, you have
prevented a conflict between two great nations [] although, l think, this is
the very beginning of the journey.”

23. Based on my training, experience, and familiarity with this investigation, I believe
that the above-described email and Twitter conversations represent BUTlNA’s plan to conduct
activities as an illegal agent of the Russian Federation in the United States through a Russian
influence operation.

Acts in the United States

24. BUTlNA’s efforts in the United States to promote the political interests of the
Russian Federation were diverse and multifaceted, including BUTlNA’s efforts to organize a
series of “h~iendship and dialogue” dinncrs some of which are believed to have taken place in the
District of Columbia, as well as BUTINA’s attendance at two National Prayer Breakfasts in the
District of Columbia.

25. On or about January 19, 2016, BUTlNA and the Russian Representative exchanged

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Twitter direct messages regarding logistics for the 2016 National Prayer Breakfast. The RUSSlAN
OFFICIAL noted that the MFA -had given approval for his attendance

26. On February 4, 2016, both BUTINA and the RUSSlAN OFFlClAL attended the
2016 National Prayer Breakfast in the District of Columbia.

27. A series of email communications (also known as “email strings”) spanning
Mareh 10 and ll, 2016 and involving BUTINA, U.S. Person 1, and U.S. Person 2 reveal
BUTINA’s efforts to arrange the “friendship and dialogue” dinners in the District of Columbia
and New York City near the end of May 2016. U.S. Person l provided a list to BUTINA.of
American individuals and noted that this list would serve as “a good start for Maria’s first briefing
for [the RUSSIAN OFFICIAL’s] Friday morning in Moscow.” BUTINA expressed her gratitude
to U.S. Person l and noted that she had received the list before her meeting with the RUSSIAN
OFFICIAL, and “that [w]e confirm the Datcs! [the RUSSIAN OFFICIAL] is working on the best
third person from the Russian side now.” Additionally, BUTINA told U.S. Person 2 that the
RUSSIAN OFFICIAL had expressed to her that he was “very much impressed by you and
expresses his great appreciation for what you are doing to restore relations between the two
countries I-Ie also wants you to know that.Russians will support the efforts from our side. 'l` hat
is all l can tell you for now. More information next weekl”

28. On March 14, 2016, BUTINA emailed U.S. Person 2 and said that the RUSSIAN
OFFICIAL confirmed to her “his desire in our Russian-American project,” and that a
representative of the Russian Presidential administration had expressed approval “for building this
communication channel.” BUTINA additionally assured U.S. Person 2 that he should not worry
as “all that we needed is <<yes>> from Putin’s side. The rest is easier.”

29. On March 30, 2016, BUTINA sent an email thanking an associate of the organizer

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of the 2017 Prayer Breakfast for meeting with her and the RUSSlAN OFFICIAL in Moscow. In
this email, BUTINA noted that the RUSS]AN OFFICIAL “suggested to President Putin that he
consider coming to the Prayer Breakfast next year, Feb 2017, and Pres. Putin did not say ‘no’ !”
BUTINA observed that she believed that there were a number of conditions that should be met in
order for President Putin to attend, including a personal invitation from the President of the United
States and the attendance of at least fifteen other world leaders or heads of state. In a later March
email, the organizer of the 2017 National Prayer Breakfast promised BUTINA he would provide
ten seats at the 2017 event.

30. On September 16, 2016, BUTINA sent an emai| to U.S. Person l and U.S. Person 2
regarding organizing another Russian-American “friendship and dialogue” dinner in the District
of Columbia. BUTINA suggested scheduling the next dinner at the beginning of October 2016,
because “we only have 2 month left before the US elections and it’s the time for building an
advisors team on Russia for a new president. l am seriously worry that the candidates some
upcoming day will suddenly realize that ‘now’ is the time to do something with Russia and will
look for advisory among currently popular radically oppositional to Russia crowd of experts Bad
things happen than. l believe we can prevent it.” [sic]

31. On October 4, 2016, U.S. Person 1 sent an email to an acquaintance The email
covered a number of topics Within the email, U.S. Person l stated, “Unrelated to specific
presidential campaigns I’ve been involved in securing a VERY private line of communication
between the Kremlin and key POLITICAL PARTY 1 leaders through, of all conduits the [GUN
RIGHTS ORGANIZATION].” Based on my training, experience, and familiarity with this
investigation, I believe that this email describes U.S. Person l ’s involvement in BUTINA’s efforts
to establish a “back channel” communication for representatives of the Govemment of Russia.

32. On October 5, 2016, BUTINA and the RUSSIAN OFFICIAL exchanged the

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following direct messages on Twitter:

BUTINA: Time will tell. We made our bet. 1 am following our game. I
will be connecting the people from the prayer breakfast to this group. Most
importantly, you get better. Everything else we will win.

RUSSIAN OFFICIAL: No doubt! Of course we will win, but l (you are
right) need to beat the illness first and get out of the hospital (l made an
attempt today - it didn’t work). And it is not about Winning today’s fight
(although we are striving for it) but to win the entire battle. This is the battle
for the future, it cannot be lost! Or everyone will lose.

BUTINA: True! But don’t try to get out right now: the doctors ordered you
to stay for a reason. Better finish the treatment Please do not risk it. You
have a key role and you know it. I will not manage without you.

RUSSIAN OFFlClAL: Nol This is a mistake. Your political star has risen
in the sky. Now it is important to rise to the zenith and not burn out (fall)
prematurely.

BUTINA: Oh well. l am just starting in this field. l still have to learn and
learn from you! These are not just words! Harsh and impetuous moves will
ruin everything early.

RUSSIAN OFFIClAL: This is hard to teach. Patience and cold blood +
faith in yourself. And everything will definitely turn out.

*=i¢*

BUTINA: By your recommendation, l am setting up the groundwork here
but l am really in need of mentoring. Or the energy might to towards the
wrong direction. Yesterday’s dinner showed that American society is
broken in relation to Russia. This is now the dividing line of opinions the
crucial one in the election race. [POLITICAL PAR'l`Y 1] are for us
[another major U.S. political party] ~ against - 50/50. Our move here is
very important.” [sic]

33. During the October 5, 2016 Twitter direct communications BUTINA and the
RU`SSlAN OFPICIAL also discussed other potential steps to take in the operation. The RUSSIAN
OFFICiAL asked about how the “Russia-USA friendship society” looked at that time. BUTINA
responded, “lt’s not alive. We are currently ‘underground’ both here and there. Now, private

clubs and quite [sic] influence on people making decisions is the trend. No publicity.” She

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continued, “Advisor ~ is the profession of the current day. Even a secret advisor. Right now the
Administration here is flexible - and there is the idea, so that the right thoughts would dominate.”

34. Following this October 5, 2016 Twitter conversation, BUT]NA and the RUSSIAN
OFFlClAL discussed whether BUTlNA should volunteer to serve as a U.S. election observer from
Russia and agreed that the risk was too high. The RUSS[AN OFFlClAL expressed the opinion
that “the risk of provocation is too high and the ‘media hype’ which comes aher it,” and BUTINA
agreed by responding, “Only incognito! Right now everything has to be quiet and careful.”

35. ]n October 2016, BUTINA and the RUSSIAN OFFICIAL intermittently
communicated to discuss the topics of the 2017 National Prayer Breakfast invitation and the
upcoming elections via Twitter direct message. On October l'i', 2016, BUTINA asked the
RUSSlAN OF_FICIAL for a list of ten individuals from Russia who would be attending the
National Prayer Breakfast. BUTINA further suggested to the RUSSIAN OFFICIAL that it would
be a good idea to invite the Russian Ambassador and noted that it “needs to be somebody
influential from Russia, it would be better [if it were someone] from the Kremlin or RPC [Russian
Orthodox Church] of course.”

36. In a series of November 8 and 9, 2016 Twitter direct messages the RUSSIAN
OFFIClAL and BUT]NA discussed the results of the U.S. Presidential election as they were
announced. As part of that same Twitter conversation, BU'l`INA told the RUSSIAN OFFICIAL,
“. . . l’m going to sleep. It’s 3 arn here. lam ready for further orders.” The RUSSIAN OFFICIAL
responded, “Think about in which areas of life we could go towards bringing us closer. ISIS -
understandably, what else we need to look at the American agenda.” After speculating about who
might be nominated as Secretary of State, BUTINA suggested a phone call to discuss and the
RUSSIAN OFFICIAL noted that he liked the idea, but was worried that “all our phones are being

listened to!” BUTINA suggested that they talk via WhatsApp.

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37. On Novcmber 11, 2016, BUTlNA sent the RUSSIAN OFFICLAL a direct message
via Twitter, in which she predicted who might be named Secretary of State and asked the
RUSSIAN OFFIClAL to find out how “our people” felt about that potential nomination.

38. Also on November ll, 2016, BUT[NA sent the RUSSIAN OFFICIAL a direct
message via Twitter which included a screen shot of two “reports” in Russian. One report
proposed ways to establish dialogue with U.S. politicians through a conference The proposal
stated that “[t]he conference must be presented as a private initiative, not a government
undertaking.” 'l`he proposal also suggested that BUTINA and a number of political officials and
U.S. Congressmen should participate In this report, BUTINA noted to the RUSSIAN OFFICIAL,
under the heading “advantages,” that “[t]he event will get Wide coverage in the press; it will be the
first positive event regarding Russia in Washington (currently, all of them are anti-Russian and
anti-Putin). The event does not pose any risks because no government officials from either country
will attend; yet it creates a foundation for further talks on the level of government officials.”

39. ln a November 12, 2016 Twitter direct message the RUSSIAN OFFICIAL
acknowledged reading the proposal referenced above and informed BUTINA that “they” won’t go
for it. He told BUTINA that he could not reach an MFA contact and noted “[p]eople are waiting
for the formed decisions 1 will try to clarify this subject on Monday one more time.” Based on l
my training, experience and familiarity with this investigation, l believe these messages are the
RUSSIAN OFFICIAL relaying the Russian Federation’s instructions to its agent, BUTlNA.

40. 0n November 30, 2016, BUTINA emailed U.S. Person 1 regarding the Russian
delegation to the 2017 National Prayer Breakfast. BUTINA stated that the “[p]eople in the list are
handpicked by [the RUSSIAN OFFICIAL] and me and are VERY influential in Russia. They arc
coming to establish a back channel of communication .. Let’s think if our [U.S. Person 2’s first

name] would like to meet with them. . .” (ellipses in original)

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41 . On December 1, 2016, U.S. Person l emailed BUTINA with instructions for “what
is required to book the Russian delegation hotel rooms in the Washington Hilton ~ the actual venue
of the National Prayer Breakfast.” The email listed rooms and prices and U.S. Person 1 noted,
“To be safe, l’d ask [the RUSSIAN OFFICIAL] to place US $3 500 on one of your Russian charge
cards in order to pay these deposits.”

42. In a December 26, 2016 email, the RUSSlAN OFFlClAL told BU'l`INA that the
MFA had no objection to his trip to attend the National Prayer Breakfast, but “it does not mean
that everything is settled. . . . Officially, only ambassadors will be invited. 'l`here will be no state
leaders and delegations.” l?»U"l"Il\l¢‘-kd rcplied, “The response from the MFA is perfect.[] l am
serious.”

43. On January 5, 201’?', BUTINA was forwarded a copy of an email between U.S.
Person 1 and U.S. Person 2 regarding the 2017 National Prayer Breakfast in which U.S. Person l
attached a list of Russian visitors including 12 Russian guests noting, “ln addition to delegation
leader [the RUSSIAN OFFICIAL], the list is populated by important political advisors to Russian
President Putin, university presidents mayors and substantial private businessmen.”

44. On January 26, 2017, BUTINA and the RUSSIAN OFFICIAL communicated via
Twitter direct message about the RUSSlAN OFFICIAL delivering a speech the night before the
National Prayer Breakfast. BUT[NA told the Russian Representative that “[t]he only thing I ask
is to somehow mention me. This is very important for me for negotiations with the breakfast
committee They need to see me not as the delegation ‘organization committee’ but as your partner
and colleague.” The Russian Representative agreed as to the “need to stress [BUTINA’s] status
as a key figure.”

45. On February 2, 2017, BUTI`NA and the RUSSIAN OFFICIAL attended the 201 'F

National Prayer Breakfast in the District of Columbia.

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46. On February 6, 201'?', BUTINA emailed a National Prayer Breakfast organizer to
thank him for “the gift of you [sic] precious time during the National Prayer Breakfast week ~ and
for the very private meeting that followed A new relationship between two countries always
begins better when it begins in faith. Once you have a chance to rest after last week’s events, l
have important information for you tofirrrher this new relationshipl I Would appreciate one brief
additional meeting with you to explain these new developments I remain in Washington, D.C.

35
!

pursuing my Master’s Degree at American University. My schedule is your schedule (emphasis

added) l
48. On February 8, 201?, BUTlNA emailed U.S. Person 2 to thank him and noted,

“Our delegation cannot stop chatting about your wonderful dinner. My dearest President has

received ‘the message’ about your group initiatives and your constructive and kind attention to the
Russians.”

49. At no time did BUTINA notify the Attorney Generai, whose office in the
Department of Justice is located in the District of Columbia, that she would and did act in the

United States as an agent of a foreign government

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CONCLUSION
50. For the reasons stated above, there is probable cause to believe that BUTINA
conspired with one or more persons to violate 18 U.S.C. § 951 , in violation of 18 U.S.C. § 371.
51. I declare under the penalty of perjury that the information provided above is true

and correct to the best of my knowledge

Respectfully submitted,

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,/‘rf<ltvn~i HEL
Special Agent
F ederal Bureau of Investigation

   
  
  

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‘er'HoNoRABLE DEBORAH A. ROBINsoN
uNITED sTATEs MAGISTRATE JUDGE

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